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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

PITRELL BRISTER, et al.                                                              PLAINTIFFS

V.                                                                       NO. 4:20-CV-7-SA-JMV

NATHAN BURL CAIN, et al.                                                           DEFENDANTS


                                             ORDER
       Before the Court is the parties’ Joint Motion to Dismiss the claims of 20 of the remaining

80 named Plaintiffs on the basis that the 20 Plaintiffs are not presently confined at the Mississippi

State Penitentiary at Parchman (“MSP”) because they have been paroled or have otherwise been

transferred away from MSP. Having considered the matter, being notified that this is a Joint

Motion, and finding that the Joint Motion is supported by the Court’s previous Order [Doc. 363],

the Court finds that the Joint Motion [394] is well taken and should be granted.

       IT IS, THEREFORE, ORDERED that the claims of the below-listed 20 Plaintiffs are

hereby dismissed without prejudice, and the Clerk of Court is directed to terminate these Plaintiffs

as parties on the docket in this case: Pitrell Brister, Tyree Ross, H.D. Alexander Scott, Phillip

Webster, Larry Bardney, Joshua Bogan, Dwayne Bridget, Michael A. Dillard, Paul Evans, Jr.,

Ricky Joseph Gavin, William Golden, Jr., Jonathan Key Ivy, Michael Oliver, Xavier Phillips-

Bowman, Gavin Pierson, Montrail Robinson, Jodon Slaughter, Netorrium Tyson, Jerry

Vanwagner, and Eric Wayne Watkins.

       SO ORDERED, this the 13th day of January, 2023.

                                                      /s/ Sharion Aycock
                                                      UNITED STATES DISTRICT JUDGE
